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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                12/30/2020
                                                                       :
GOLDEN INSURANCE CO.,                                                  :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-1163 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
INGRID HOUSE, et al.,                                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

         Pursuant to the consent of the parties, the trial will be held to the bench. Dkt. No. 59.
Trial is scheduled for May 17, 2021 at 10:00 a.m.

        SO ORDERED.


Dated: December 30, 2020                                   __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
